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                               No. 22-3062


 In the United States Court of Appeals for the
         District of Columbia Circuit
                             ______________

                     UNITED STATES OF AMERICA,
                                                       Plaintiff-Appellant
                                    v.

                        THOMAS ROBERTSON,
                                                      Defendant-Appellee
                             ______________

   OPPOSITION TO APPELLEE’S MOTION TO REMAND FOR RESENTENCING

                                   ****

     Defendant-appellee Thomas Robertson moves to remand the case

for resentencing following this Court’s decision in United States v. Brock,

No. 23-3045, 2024 WL 875795 (D.C. Cir. Mar. 1, 2024). The Court should

deny the motion. As relevant here, this Court in Brock concluded that

the sentencing enhancement in U.S.S.G. § 2J1.2(b)(2) for the “substantial

interference with the administration of justice” did not apply to the joint

session to certify the electoral votes on January 6, 2021, because “the

phrase ‘administration of justice’ does not encompass Congress’s role in

the electoral certification process.” Id. at *8. The government has not

decided whether to pursue further review in Brock, and the mandate has
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not yet issued in that case, so remand for resentencing in this case is not

appropriate.

                                     Respectfully submitted,

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                                   District of Columbia

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March 19, 2024




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          CERTIFICATE OF SERVICE AND COMPLIANCE

     In accordance with Fed. R. App. P. 25(d), the undersigned counsel

of record certifies that the foregoing Opposition for the United States,

which contains 127 words, was this day served upon counsel for

appellees, by notice of electronic filing with the District of Columbia

Circuit CM/ECF system.

DATED: MARCH 19, 2024


                                      /s/ James I. Pearce
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